         Case 1:21-cr-00237-RDM Document 131 Filed 06/27/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :
               v.                                      :       Case No. 21-CR-237 (RDM)
                                                       :
JONATHANPETER ALLEN KLEIN and                          :
MATTHEW LELAND KLEIN,                                  :
                                                       :
                       Defendants.                     :


                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, defendant Jonathanpeter Allen Klein, by and through his attorney

Michelle M. Sweet, Esq., and defendant Matthew Leland Klein, by and through his attorney

Eugene Gorokhov, Esq., provide this Joint Status Report to the Court.

               1.      On April 29, 2022, upon consideration of the parties’ April 27, 2022 Joint

Status Report, (Dkt. 129), the Court directed the parties to file a further joint status report on or

before June 28, 2022. The Court also tolled the defendants’ Speedy Trial rights in the interest of

justice from April 29, 2022, to June 28, 2022.

               2.      Since filing the last Joint Status Report, the government has continued to

provide access to voluminous discovery to the defendants in the Capitol Riot related cases.

               3.      It is the government’s position that, at present, almost all of the case specific

materials, discoverable at this time, have been tendered and/or made available to the defendants.

The government will continue to produce such items as they become available.

               4.      The parties continue to engage in discussions towards pursuing resolution

of this matter short of trial and require additional time to determine whether such a resolution is

achievable.
         Case 1:21-cr-00237-RDM Document 131 Filed 06/27/22 Page 2 of 2




               5.      In addition, given the volume of discovery that has been and is expected to

be produced, the defendants need additional time to meaningfully review such discovery and

determine how best to proceed in this matter, including making decisions regarding the filing of

pretrial motions.

               6.      The parties request that the Court set this matter for an additional Joint

Status Report to be filed on or before August 29, 2022, by 12:00 p.m.

               7.      The parties agree that time should be excluded under the Speedy Trial Act

from June 28, 2022, through August 29, 2022, in the interest of justice for the reasons previously

provided by the Court.

               8.      Neither defendant is in pretrial custody.

               9.      The undersigned Assistant U.S. Attorney has received permission from

counsel for both defendants to file this Joint Status Report.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052

                                      By:      /s/ Christopher K. Veatch
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